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Attorneys for The SCO Group, Inc.


                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF UTAH


THE SCO GROUP, INC.                        EX PARTE MOTION FOR LEAVE
                                               TO FILE SCO'S REPLY
       Plaintiff/Counterclaim-Defendant,    MEMORANDUM IN FURTHER
                                           SUPPORT OF SCO'S OBJECTIONS
v.                                                   TO THE
                                            MAGISTRATE JUDGE'S ORDER
INTERNATIONAL BUSINESS                      DENYING SCO'S MOTION FOR
MACHINES CORPORATION,                           RELIEF FOR IBM'S
                                                   SPOLIATION
       Defendant/Counterclaim-Plaintiff.          OF EVIDENCE


                                               Case No. 2:03CV0294DAK

                                              Honorable Dale A. Kimball
                                            Magistrate Judge Brooke C. Wells
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       Plaintiff/Counterclaim-Defendant The SCO Group (“SCO”) hereby moves the Court

pursuant to District Court Rule 7-1(e) for an Order granting SCO leave to file its over length

Sco's Reply Memorandum In Further Support Of SCO's Objections To The Magistrate Judge's

Order Denying SCO's Motion For Relief For IBM's Spoliation Of Evidence (the “Reply

Memorandum”) that consists of 20 pages, exclusive of face sheet, table of contents and

authorities, appendixes and exhibits.

       SCO’s Motion is made upon the grounds that the Reply Memorandum of the indicated

length is necessary given the complex nature of the issues raised.

       SCO has endeavored to be as concise as possible, but respectfully submits that the excess

length is necessary to fully and fairly address the issues being placed before the Court.

       SCO respectfully requests that it be allowed to file its Reply Memorandum containing 20

pages, exclusive of face sheet, table of contents and authorities, appendixes and exhibits.

       DATED this the 25th day of May, 2007.


                                              HATCH, JAMES & DODGE, P.C.
                                              Brent O. Hatch
                                              Mark F. James

                                              BOIES, SCHILLER & FLEXNER LLP
                                              Robert Silver
                                              Stuart H. Singer
                                              Stephen N. Zack
                                              Edward Normand


                                              By: /s/ Mark F. James ______________
                                              Counsel for The SCO Group, Inc.



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                                CERTIFICATE OF SERVICE

       Plaintiff/Counterclaim-Defendant, The SCO Group, Inc., hereby certifies that a true and

correct copy of the foregoing EX PARTE MOTION FOR LEAVE TO FILE SCO'S REPLY

MEMORANDUM           IN    FURTHER       SUPPORT      OF   SCO'S   OBJECTIONS      TO    THE

MAGISTRATE JUDGE'S ORDER DENYING SCO'S MOTION FOR RELIEF FOR IBM'S

SPOLIATION OF EVIDENCE was served on Defendant/Counterclaim-Plaintiff, International

Business Machines Corporation, on this 25th Day of May, 2007, via CM/ECF and electronic mail

(by agreement of the parties) to the following:



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                                  By:______/s/Mark F. James__________________




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